     Case: 1:22-cv-04405 Document #: 7 Filed: 09/22/22 Page 1 of 1 PageID #:44

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Adam Stiles
                                          Plaintiff,
v.                                                          Case No.: 1:22−cv−04405
                                                            Honorable Manish S. Shah
Mobile Fidelity Sound Lab, Inc.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 22, 2022:


        MINUTE entry before the Honorable Manish S. Shah: The motion for extension of
time to answer [6] is granted. Defendant's response to the complaint is due 11/29/22. By
12/7/22, the parties shall file a joint initial status report. A template for the Initial Status
Report, setting forth the information required, may be found at
http://www.ilnd.uscourts.gov/Judges.aspx by clicking on Judge Shah's name and then
again on the link entitled 'Initial Status Conferences.' Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
